Case: 1:16-cv-O7946 Document #: 16 Filed: 01/04/17 Page 1 of 3 Page|D #:46

UNITED STATES DISTRICT COURT
FOR THE NORTHER_N DISTRICT OF ILLINOIS l
EASTERN DIVISION (
HOWARD COHAN, CASE NO.: 16 cv 7946
Plaintiff,

Vs. INJUNCTIVE RELIEF SOUGHT
WALDORF =ASTORIA MANAGEMENT LLC
dfbfa WALDORF ASTORIA CHlCAGO

Defendant(s)
/

JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

Plaintiff, HOWARD COI-IAN, and Defendant, WALDORF=ASTORlA
l\/IANAGEMENT, LLC d/b/a WALDORF ASTORIA CHICAGO, through undersigned counsel,
have agreed to a settlement of all issues, including fee and costs, in this matter, subject only to
the drafting of specific documents to memorialize the agreement Each Party to bear its own fees
and costs, except as otherwise specified in the settlement documents

The Parties request this Honorable Court allow for an additional thirty (30) days to
finalize a settlement agreement and submit final proposed Order of Dismissal.

Dated: January 4, 2017

 

 

Respectfully submitted,

ROBERT M. KAPLAN, P.C. KEVIN FRITZ

Counsel for Plaintiff Counsel for Defendant

1535 W. Schaumburg Rd., #204 Seyfarth Shaw LLP

Schaumburg, IL 60194-4()52 131 S. Dearborn Street, Suite 2400
Telephone (847) 895-9151 Telephone: (312) 460-5586
Facsimile: (847) 895-7320 Faesimile: (312) 460-7586

By: /s/ Robert M. Kaplan BV: /s/ Kevin Fritz

Robert M. Kaplan, IL Bar No. 6206215 Kevin Fritz,
rmkap@robertkaplanlaw.com KFritZ@seyfarth.com

Case: 1:16-cv-O7946 Document #: 16 Filed: 01/04/17 Page 2 of 3 Page|D #:47

MINH H. VU

Counsel for Det`endant
Seyfarth Shaw LLP

974 F. Street, N.W.
Washington D.C. 20004
Telephone: (202) 463-2400

BV: /s/ Mihn H. Vu
mvu case 'farth.com

ROBERT M. KAPLAN

LAW ()FFICES OF ROBERT M. KAPLAN, P.C.
Attorneys for Plaintiff

1535 West Schaumburg Road

Schaumburg, lllinois 60194

(847) 895-9151

rmkap@robertkaplanlaw.com

IL Bar No. 6206215

Case: 1:16-cv-O7946 Document #: 16 Filed: 01/04/17 Page 3 of 3 Page|D #:48

CER'I`IFICATE OF SERVICE
1 hereby certify that on January 4, 2017, I electronically filed the foregoing document
with the Clerk of the Court using CM/ECF. l also certify that the foregoing document is being
served this day on counsel of record identified on the attached Service List in the manner
specified via transmission of Electronic Filing generated by CM/ECF or in some other
authorized manner for those counselor parties who are not authorized to receive electronically

Notices of Electronic Filing.

LAW OFFICES OF ROBERT M. KAPLAN, P.C.
Counsel for Plaintiff`

1535 W. Schaumburg Rd., #204

Schaumburg, IL 60194-4052

Telephone (847) 895-9151

Facsimile: (847) 895-7320

By: /s/ Robert M. Kaplan
Robert M. Kaplan, IL Bar No. 6206215
rmkap@robertkaplanlaw.com

SERVICE LIST

KEVIN FRITZ
KFritz@seyfarth.com

Counsel for Defendant

Seyf`arth Shaw LLP

131 S. Dearborn Street, Suite 2400
Telephone: (312) 460-5000

MINH H. VU
mvu@seyf`arth.corn
Counsel for Defendant
Seyf`arth Shaw LLP

974 F. Street, N.W.
Washington D.C. 20004
Telephone: (202) 463-2400

